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                           UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF GEORGIA
                                    2211 UNITED STATES COURTHOUSE
                                       75 TED TURNER DRIVE, SW
                                     ATLANTA, GEORGIA 30303-3361
JAMES N. HATTEN                                                                    DOCKETING SECTION
DISTRICT COURT EXECUTIVE                                                            404-215-1655
 AND CLERK OF COURT
                                          August 11, 2020

Clerk of Court
U.S. Court of Appeals, Eleventh Circuit
56 Forsyth Street, N.W.
Atlanta, Georgia 30303

       U.S.D.C. No.: 1:19-cv-2973-SCJ
       U.S.C.A. No.: 00-00000-00
       In re:        SisterSong Women of Color Reproductive Justice Collective, et al. v.
                     Brian Kemp, et al.

        Enclosed are documents regarding an appeal in this matter. Please acknowledge
receipt on the enclosed copy of this letter.

   X    Certified copies of the Notice of Appeal, Clerk’s Judgment, Order and Docket
        Sheet appealed enclosed.

   X    This is not the first notice of appeal. Other notices were filed on: 11/22/2019
        (USCA 19-14726-DD).

        There is no transcript.

   X    The court reporters are David Ritchie and Andy Ashley.

        There is sealed material.

        Other: .

   X    Fee paid electronically on 8/11/2020; Receipt Number AGANDC-10016222.

        Appellant has been leave to file in forma pauperis.

        This is a bankruptcy appeal. The Bankruptcy Judge is .

        The Magistrate Judge is .

   X    The District Judge is Steve C. Jones.

        This is a DEATH PENALTY appeal.

                                                              Sincerely,

                                                              James N. Hatten
                                                              District Court Executive
                                                              and Clerk of Court

                                                        By: /s/ K. Carter
                                                            Deputy Clerk
